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                   EXHIBIT A
                               In Support of

         Motion for Leave to Amend to Add Ahold Delhaize
        Case: 1:17-md-02804-DAP Doc #: 5556-1 Filed: 07/30/24 2 of 7. PageID #: 640907
                                Amending Plaintiffs Seeking Leave to Add the Ahold Delhaize Defendants


                                                                                                                                Market
                                                                                                                              Share 2006-   Market
   Case Number                      Case Caption                             Plaintiff                       State              2019 -    Share 2006-                Signed by
                                                                                                                               Doseage    2019 - MME
                                                                                                                                 Units

                       Columbia County v. Purdue Pharma L.P.
1:17-op-45068-DAP                                                        Columbia County                 Pennsylvania            9.76%          8.27%           /s/ Peter J. Mougey
                                        et al
                         Manchester, NH, City of v. Purdue
1:17-op-45163-DAP                                                         Manchester City               New Hampshire            7.20%          5.29%           /s/ Shayna E. Sacks
                                  Pharma L.P. et al
                       Local 404 Teamsters Health Service and       Local 404 Teamsters Health
1:18-op-45001-DAP                                                                                        Massachusetts              *              *            /s/ Frank Schirripa
                          Insurance Plan v. Purdue Pharma           Service and Insurance Plan
                         American Federation of State, County     American Federation of State,
                          and Municipal Employees District           County and Municipal
1:18-op-45013-DAP                                                                                          New York                 *              *          /s/ Elizabeth J. Cabraser
                         Council 37 Health & Security Plan v.     Employees District Council 37
                              Purdue Pharma L.P. et al              Health & Security Plan

                       City of Greenfield, v. Amerisourcebergen
1:18-op-45017-DAP                                                      Greenfield Town City              Massachusetts           6.24%          3.11%           /s/ Peter J. Mougey
                                Drug Corporation et al

                       Sunflower County, Mississippi v. Purdue
1:18-op-45020-DAP                                                        Sunflower County                 Mississippi            22.18%         32.15%        /s/ James R. Segars, III
                                 Pharma, L.P. et al
                              Cecil County, Maryland v.
1:18-op-45100-DAP       Amerisourcebergen Drug Corporation et              Cecil County                    Maryland              5.17%          3.42%           /s/ Peter J. Mougey
                                         al
                         Calhoun County, Alabama v. Cardinal
1:18-op-45191-DAP                                                         Calhoun County                   Alabama               8.96%          12.13%            /s/ Brad Ponder
                                     Health Inc et al
                        Indiana County, Pennsylvania v. Purdue
1:18-op-45249-DAP                                                         Indiana County                 Pennsylvania            7.63%          15.74%          /s/ Peter J. Mougey
                                    Pharma L.P. et al
                         Person County v. AmerisourceBergen
1:18-op-45276-DAP                                                         Person County                 North Carolina           5.75%          3.66%           /s/ Peter J. Mougey
                                 Drug Corporation et al
                        City of Pittsfield v. Amerisourcebergen
1:18-op-45335-DAP                                                          Pittsfield City               Massachusetts           6.90%          4.93%           /s/ Peter J. Mougey
                                 Drug Corporation et al
                        City of Easthampton, Massachusetts v.
1:18-op-45336-DAP       Amerisourcebergen Drug Corporation et         Easthampton Town City              Massachusetts           9.50%          9.43%           /s/ Peter J. Mougey
                                         al
                               City of Northampton v.
1:18-op-45337-DAP       Amerisourcebergen Drug Corporation et            Northampton City                Massachusetts           9.50%          9.43%           /s/ Peter J. Mougey
                                         al
                          Prince George's County Maryland v.
1:18-op-45501-DAP                                                     Prince Georges County                Maryland              15.44%         14.95%          /s/ Shayna E. Sacks
                               Purdue Pharma L.P. et al
                          Town of Derry, New Hampshire v.
1:18-op-45582-DAP       Amerisourcebergen Drug Corporation et               Derry Town                  New Hampshire            7.80%          6.79%           /s/ Peter J. Mougey
                                         al
                         City of Laconia, New Hampshire v.
1:18-op-45583-DAP       Amerisourcebergen Drug Corporation et              Laconia City                 New Hampshire            9.80%          9.52%           /s/ Peter J. Mougey
                                          al
                        City of Frostburg v. Amerisourcebergen
1:18-op-45617-DAP                                                         Frostburg City                   Maryland              8.63%          6.03%           /s/ Peter J. Mougey
                                 Drug Corporation et al
                     City of Cumberland, Maryland v
1:18-op-45624-DAP AmerisourceBergen Drug Corporation, et                 Cumberland City                   Maryland              8.63%          6.03%           /s/ Peter J. Mougey
                                   al.
                           Allegany County, Maryland v.
1:18-op-45652-DAP       Amerisourcebergen Drug Corporation et            Allegany County                   Maryland              8.63%          6.03%           /s/ Peter J. Mougey
                                         al

                       Town of Plymouth v. Amerisourcebergen
1:18-op-45675-DAP                                                         Plymouth Town                  Massachusetts           6.26%          5.09%           /s/ Peter J. Mougey
                               Drug Corporation et al

                         Town of Acushnet, Massachusetts v.
1:18-op-45676-DAP       Amerisourcebergen Drug Corporation et             Acushnet Town                  Massachusetts           5.08%          3.49%           /s/ Peter J. Mougey
                                         al
                        Town of Carver v. Amerisourcebergen
1:18-op-45691-DAP                                                          Carver Town                   Massachusetts           6.26%          5.09%           /s/ Peter J. Mougey
                                Drug Corporation et al
                        City of Holyoke v. Amerisourcebergen
1:18-op-45694-DAP                                                          Holyoke City                  Massachusetts           5.63%          4.25%           /s/ Peter J. Mougey
                                Drug Corporation et al
                               City of North Adams v.
1:18-op-45702-DAP       Amerisourcebergen Drug Corporation et            North Adams City                Massachusetts           6.90%          4.93%           /s/ Peter J. Mougey
                                         al
                        Town of Hanson v. Amerisourcebergen
1:18-op-45704-DAP                                                          Hanson Town                   Massachusetts           6.26%          5.09%           /s/ Peter J. Mougey
                               Drug Corporation et al

                       Town of Freetown v. Amerisourcebergen
1:18-op-45705-DAP                                                         Freetown Town                  Massachusetts           5.08%          3.49%           /s/ Peter J. Mougey
                               Drug Corporation et al



*The market share has not been included here because both these Third Party Payors are asserting national, classwide RICO claims against this defendant based its participation in a
RICO enterprise through an ongoing pattern of violative acts, evidenced by a number of factors including a greater than 5% market share in a multiplicity of jurisdictions.
                                                                                                                                                              Page 1 of 6
      Case: 1:17-md-02804-DAP Doc #: 5556-1 Filed: 07/30/24 3 of 7. PageID #: 640908
                            Amending Plaintiffs Seeking Leave to Add the Ahold Delhaize Defendants


                                                                                                              Market
                                                                                                            Share 2006-   Market
  Case Number                   Case Caption                          Plaintiff                State          2019 -    Share 2006-        Signed by
                                                                                                             Doseage    2019 - MME
                                                                                                               Units

                        Town of East Bridgewater v.
1:18-op-45721-DAP   Amerisourcebergen Drug Corporation et       East Bridgewater Town      Massachusetts      6.26%       5.09%        /s/ Peter J. Mougey
                                     al
                        Town of Londonderry, NH v.
1:18-op-45727-DAP   Amerisourcebergen Drug Corporation et         Londonderry Town         New Hampshire      7.80%       6.79%        /s/ Peter J. Mougey
                                     al
                           City of Franklin, NH v.
1:18-op-45728-DAP   Amerisourcebergen Drug Corporation et           Franklin City          New Hampshire      5.35%       3.87%        /s/ Peter J. Mougey
                                      al

                    Town of Lakeville v. Amerisourcebergen
1:18-op-45743-DAP                                                  Lakeville Town          Massachusetts      6.26%       5.09%        /s/ Peter J. Mougey
                            Drug Corporation et al

                       Town of North Attleborough v.
1:18-op-45744-DAP   Amerisourcebergen Drug Corporation et     North Attleborough Town      Massachusetts      5.08%       3.49%        /s/ Peter J. Mougey
                                     al
                         Seneca Nation of Indians v.
1:18-op-45746-DAP   Amerisourcebergen Drug Corporation et      Seneca Nation of Indians      New York         6.71%       6.18%        /s/ Peter J. Mougey
                                     al
                     Town of Marshfield, Massachusetts v.
1:18-op-45752-DAP   Amerisourcebergen Drug Corporation et         Marshfield Town          Massachusetts      6.26%       5.09%        /s/ Peter J. Mougey
                                     al
                    Town of Bridgewater, Massachusetts v.
1:18-op-45754-DAP   Amerisourcebergen Drug Corporation et         Bridgewater Town         Massachusetts      6.26%       5.09%        /s/ Peter J. Mougey
                                     al
                      Vance County v. AmerisourceBergen
1:18-op-45759-DAP                                                   Vance County           North Carolina     6.65%       8.04%        /s/ Peter J. Mougey
                            Drug Corporation et al

                    City of Henderson v. AmerisourceBergen
1:18-op-45768-DAP                                                  Henderson City          North Carolina     6.65%       8.04%        /s/ Peter J. Mougey
                             Drug Corporation et al

                     Town of Somerset, Massachusetts v.
1:18-op-45769-DAP   Amerisourcebergen Drug Corporation et          Somerset Town           Massachusetts      5.08%       3.49%        /s/ Peter J. Mougey
                                     al
                      Town of Norton, Massachusetts v.
1:18-op-45787-DAP   Amerisourcebergen Drug Corporation et           Norton Town            Massachusetts      5.08%       3.49%        /s/ Peter J. Mougey
                                     al
                     Town of Agawam, Massachusetts v.
1:18-op-45792-DAP   Amerisourcebergen Drug Corporation et        Agawam Town City          Massachusetts      5.63%       4.25%        /s/ Peter J. Mougey
                                     al
                     Rowan County v. AmerisourceBergen
1:18-op-45799-DAP                                                   Rowan County           North Carolina     5.06%       3.56%        /s/ Peter J. Mougey
                           Drug Corporation, et al
                      Town of Palmer, Massachusetts v.
1:18-op-45812-DAP   Amerisourcebergen Drug Corporation et         Palmer Town City         Massachusetts      5.63%       4.25%        /s/ Peter J. Mougey
                                     al
                    Town of West Springfield, Massachusetts
1:18-op-45813-DAP   v. Amerisourcebergen Drug Corporation     West Springfield Town City   Massachusetts      5.63%       4.25%        /s/ Peter J. Mougey
                                     et al
                     Town of Norwell, Massachusetts v.
1:18-op-45815-DAP   Amerisourcebergen Drug Corporation et           Norwell Town           Massachusetts      6.26%       5.09%        /s/ Peter J. Mougey
                                     al
                     Town of Pembroke, Massachusetts v.
1:18-op-45823-DAP   Amerisourcebergen Drug Corporation et          Pembroke Town           Massachusetts      6.26%       5.09%        /s/ Peter J. Mougey
                                     al
                     Town of Rockland, Massachusetts v.
1:18-op-45824-DAP   Amerisourcebergen Drug Corporation et          Rockland Town           Massachusetts      6.26%       5.09%        /s/ Peter J. Mougey
                                     al
                     Town of Leverett, Massachusetts v.
1:18-op-45836-DAP   Amerisourcebergen Drug Corporation et           Leverett Town          Massachusetts      6.24%       3.11%        /s/ Peter J. Mougey
                                     al
                     Town of Seekonk, Massachusetts v.
1:18-op-45881-DAP   Amerisourcebergen Drug Corporation et           Seekonk Town           Massachusetts      5.08%       3.49%        /s/ Peter J. Mougey
                                     al
                     Town of Clarksburg, Massachusetts v.
1:18-op-45882-DAP   Amerisourcebergen Drug Corporation et         Clarksburg Town          Massachusetts      6.90%       4.93%        /s/ Peter J. Mougey
                                     al




                                                                                                                                      Page 2 of 6
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                             Amending Plaintiffs Seeking Leave to Add the Ahold Delhaize Defendants


                                                                                                          Market
                                                                                                        Share 2006-   Market
  Case Number                    Case Caption                        Plaintiff             State          2019 -    Share 2006-        Signed by
                                                                                                         Doseage    2019 - MME
                                                                                                           Units

                    Town of Williamsburg, Massachusetts v.
1:18-op-45883-DAP   Amerisourcebergen Drug Corporation et       Williamsburg Town      Massachusetts      9.50%       9.43%        /s/ Peter J. Mougey
                                     al
                            Town of Mattapoisett v.
1:18-op-45890-DAP    Amerisourcebergen Drug Corporation et       Mattapoisett Town     Massachusetts      6.26%       5.09%        /s/ Peter J. Mougey
                                      al
                            Town of Belchertown v.
1:18-op-45905-DAP    Amerisourcebergen Drug Corporation et       Belchertown Town      Massachusetts      9.50%       9.43%        /s/ Peter J. Mougey
                                      al
                     Town of Ludlow v. Amerisourcebergen
1:18-op-45906-DAP                                                  Ludlow Town         Massachusetts      5.63%       4.25%        /s/ Peter J. Mougey
                            Drug Corporation et al
                      Town of Ware v. Amerisourcebergen
1:18-op-45907-DAP                                                   Ware Town          Massachusetts      9.50%       9.43%        /s/ Peter J. Mougey
                            Drug Corporation et al
                           Town of South Hadley v.
1:18-op-46000-DAP    Amerisourcebergen Drug Corporation et      South Hadley Town      Massachusetts      9.50%       9.43%        /s/ Peter J. Mougey
                                      al
                      Town of Sheffield, Massachusetts v.
1:18-op-46001-DAP    Amerisourcebergen Drug Corporation et        Sheffield Town       Massachusetts      6.90%       4.93%        /s/ Peter J. Mougey
                                      al
                           Pulaski County Virginia v.
1:18-op-46076-DAP    Amerisourcebergen Drug Corporation et        Pulaski County          Virginia        34.76%      37.53%       /s/ Eric D. Barton
                                      al
                      City of Brockton, Massachusetts v.
1:18-op-46089-DAP    Amerisourcebergen Drug Corporation et         Brockton City       Massachusetts      6.26%       5.09%        /s/ Peter J. Mougey
                                      al
                      Town of Kingston, Massachusetts v.
1:18-op-46090-DAP    Amerisourcebergen Drug Corporation et        Kingston Town        Massachusetts      6.26%       5.09%        /s/ Peter J. Mougey
                                      al
                           Town of Longmeadow v.
1:18-op-46097-DAP    Amerisourcebergen Drug Corporation et      Longmeadow Town        Massachusetts      5.63%       4.25%        /s/ Peter J. Mougey
                                      al
                         Town of West Bridgewater v.
1:18-op-46102-DAP    Amerisourcebergen Drug Corporation et     West Bridgewater Town   Massachusetts      6.26%       5.09%        /s/ Peter J. Mougey
                                      al

                     Currituck County v. AmerisourceBergen
1:18-op-46174-DAP                                                Currituck County      North Carolina     38.58%      38.28%       /s/ Peter J. Mougey
                              Drug Corporation et al

                          Town of Middleborough v.
1:18-op-46200-DAP    Amerisourcebergen Drug Corporation et      Middleborough Town     Massachusetts      6.26%       5.09%        /s/ Peter J. Mougey
                                      al
                     City of Portland v. Purdue Pharma LP et
1:18-op-46313-DAP                                                  Portland City           Maine          22.47%      17.91%      /s/ Shayna E. Sacks
                                         al

1:18-op-46314-DAP City of Bangor v. Purdue Pharma LP et al          Bangor City            Maine          24.25%      20.52%      /s/ Shayna E. Sacks

                    City of Lewiston v. Purdue Pharma LP et
1:18-op-46315-DAP                                                  Lewiston City           Maine          12.97%      10.37%      /s/ Shayna E. Sacks
                                        al
                      Commissioners of St. Mary's County,
1:18-op-46334-DAP     Maryland v. Amerisourcebergen Drug          St Marys County        Maryland         5.95%       6.23%        /s/ Peter J. Mougey
                               Corporation et al
                    Hillsborough County, New Hampshire, v.
1:18-op-46353-DAP                                               Hillsborough County    New Hampshire      7.20%       5.29%       /s/ Shayna E. Sacks
                            Purdue Pharma L.P. et al

                    Town of Rehoboth v. AmerisourceBergen
1:19-op-45059-DAP                                                 Rehoboth Town        Massachusetts      5.08%       3.49%        /s/ Peter J. Mougey
                            Drug Corporation et al

                           Town of Fairhaven, MA v.
1:19-op-45060-DAP    Amerisourcebergen Drug Corporation et        Fairhaven Town       Massachusetts      5.08%       3.49%        /s/ Peter J. Mougey
                                      al
                       Town of Orange, Massachusetts v.
1:19-op-45070-DAP    Amerisourcebergen Drug Corporation et         Orange Town         Massachusetts      6.24%       3.11%        /s/ Peter J. Mougey
                                      al
                    County Commissioners of Charles
1:19-op-45094-DAP County, Maryland v. Purdue Pharma L.P.          Charles County         Maryland         10.39%      8.33%         /s/ John Raggio
                                   et al
                     City of Augusta v. Purdue Pharma LP et
1:19-op-45182-DAP                                                   Augusta city           Maine          14.87%      12.56%      /s/ Shayna E. Sacks
                                        al




                                                                                                                                  Page 3 of 6
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                            Amending Plaintiffs Seeking Leave to Add the Ahold Delhaize Defendants


                                                                                                         Market
                                                                                                       Share 2006-   Market
  Case Number                    Case Caption                        Plaintiff             State         2019 -    Share 2006-         Signed by
                                                                                                        Doseage    2019 - MME
                                                                                                          Units

                   Penobscot County v. Purdue Pharma LP
1:19-op-45184-DAP                                                Penobscot County         Maine          24.25%      20.52%        /s/ Shayna E. Sacks
                                   et al
                  Washington County v. Purdue Pharma LP
1:19-op-45185-DAP                                               Washington County         Maine          4.43%       7.52%         /s/ Shayna E. Sacks
                                   et al
                  Somerset County v. Purdue Pharma LP et
1:19-op-45186-DAP                                                Somerset County          Maine          7.05%       6.14%         /s/ Shayna E. Sacks
                                    al

1:19-op-45188-DAP City of Auburn v. Purdue Pharma LP et al          Auburn city           Maine          12.97%      10.37%        /s/ Shayna E. Sacks

                    Sagadahoc County v. Purdue Pharma LP
1:19-op-45189-DAP                                               Sagadahoc County          Maine          21.34%      17.86%        /s/ Shayna E. Sacks
                                       et al
                     Lincoln County v. Purdue Pharma LP et
1:19-op-45190-DAP                                                 Lincoln County          Maine          20.26%      13.45%        /s/ Shayna E. Sacks
                                         al
1:19-op-45191-DAP    York County v. Purdue Pharma LP et al         York County            Maine          24.21%      21.47%        /s/ Shayna E. Sacks
                     City of Waterville v. Purdue Pharma LP
1:19-op-45193-DAP                                                 Waterville city         Maine          14.87%      12.56%        /s/ Shayna E. Sacks
                                       et al
                    Androscoggin County v. Purdue Pharma
1:19-op-45205-DAP                                              Androscoggin County        Maine          12.97%      10.37%        /s/ Shayna E. Sacks
                                      LP et al
                      City of Alexandria v. Purdue Pharma,
1:19-op-45246-DAP                                                 Alexandria city         Virginia       6.68%       6.67%           /s/ Kevin Sharp
                                     L.P. et al.
                     Kennebec County v. Purdue Pharma LP
1:19-op-45257-DAP                                                Kennebec County          Maine          14.87%      12.56%        /s/ Shayna E. Sacks
                                       et al
                     City of Biddeford v. Purdue Pharma LP
1:19-op-45258-DAP                                                 Biddeford city          Maine          24.21%      21.47%        /s/ Shayna E. Sacks
                                       et al
                    Cumberland County v. Purdue Pharma LP
1:19-op-45259-DAP                                               Cumberland County         Maine          22.47%      17.91%        /s/ Shayna E. Sacks
                                       et al
                     City of Seat Pleasant, Maryland v. Endo
1:19-op-45288-DAP                                                Seat Pleasant city      Maryland        15.44%      14.95%        /s/ Shayna E. Sacks
                            Health Solutions Inc. et al

1:19-op-45309-DAP Waldo County v. Purdue Pharma LP et al          Waldo County            Maine          27.75%      21.99%        /s/ Shayna E. Sacks

1:19-op-45310-DAP    City of Saco v. Purdue Pharma LP et al        Saco City              Maine          24.21%      21.47%        /s/ Shayna E. Sacks
                     City of Sanford v. Purdue Pharma LP et
1:19-op-45311-DAP                                                 Sanford City            Maine          24.21%      21.47%        /s/ Shayna E. Sacks
                                        al
                     Mashantucket (Western) Pequot Tribe v.     MASHANTUCKET
1:19-op-45405-DAP                                                                       Connecticut      9.84%       9.66%         /s/ P. Dylan Jensen
                             Purdue Pharma L.P. et al       (WESTERN) PEQUOT TRIBE
                          City of New Bedford et al v.
1:19-op-45569-DAP    Amerisourcebergen Drug Corporation et       New Bedford City      Massachusetts     5.08%       3.49%         /s/ Peter J. Mougey
                                      al
                     County Commissioners of Calvert
1:19-op-45609-DAP County, Maryland v. Purdue Pharma L.P.          Calvert County         Maryland        22.65%      25.74%          /s/ John Raggio
                                   et al
                    City of Charlestown, Maryland v. Purdue
1:19-op-45677-DAP                                               Charlestown Town         Maryland        5.17%       3.42%           /s/ John Raggio
                               Pharma, L.P. et al
                          Fauquier County, Virginia v.
1:19-op-45686-DAP                                                Fauquier County          Virginia       11.66%      12.07%          /s/ Kevin Sharp
                             Mallinckrodt LLC, et al
                      Board of Supervisors, Prince William
1:19-op-45687-DAP                                              Prince William County      Virginia       11.25%      9.87%           /s/ Kevin Sharp
                       County v. Purdue Pharma L.P. et al
                    Strafford County v. Purdue Pharma L.P.
1:19-op-45689-DAP                                                Strafford County      New Hampshire     11.39%      8.97%       /s/ Robert J. Bonsignore
                                      et al
                    Grafton County v. Purdue Pharma L.P. et
1:19-op-45691-DAP                                                 Grafton County       New Hampshire     8.18%       7.42%       /s/ Robert J. Bonsignore
                                       al
                     Rockingham County v. Purdue Pharma
1:19-op-45703-DAP                                               Rockingham County      New Hampshire     7.80%       6.79%       /s/ Robert J. Bonsignore
                                    L.P. et al
                    Belknap County v. Purdue Pharma L.P. et
1:19-op-45705-DAP                                                 Belknap County       New Hampshire     9.80%       9.52%       /s/ Robert J. Bonsignore
                                       al
                     Cheshire County v. Purdue Pharma L.P.
1:19-op-45706-DAP                                                Cheshire County       New Hampshire     10.16%      12.67%      /s/ Robert J. Bonsignore
                                      et al
                    Town of Belmont, NH v. Purdue Pharma
1:19-op-45707-DAP                                                 Belmont Town         New Hampshire     9.80%       9.52%       /s/ Robert J. Bonsignore
                                    L.P. et al
                    Fairfax County Board Of Supervisors v.
1:19-op-45766-DAP                                                 Fairfax County          Virginia       15.78%      13.16%          /s/ Kevin Sharp
                            Purdue Pharma, L.P. et al
                     County of Knox et al v. Purdue Pharma
1:19-op-45822-DAP                                                  Knox County            Maine          14.44%      6.99%         /s/ Shayna E. Sacks
                                     LP et al
                    City of Rockland v. Purdue Pharma LP et
1:19-op-45823-DAP                                                 Rockland City           Maine          14.44%      6.99%         /s/ Shayna E. Sacks
                                       al
                      Loudoun County, Virginia v. Purdue
1:19-op-45842-DAP                                                Loudoun County           Virginia       16.34%      11.81%          /s/ Kevin Sharp
                               Pharma, L.P. et al




                                                                                                                                 Page 4 of 6
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                             Amending Plaintiffs Seeking Leave to Add the Ahold Delhaize Defendants


                                                                                                                Market
                                                                                                              Share 2006-   Market
  Case Number                    Case Caption                            Plaintiff                State         2019 -    Share 2006-         Signed by
                                                                                                               Doseage    2019 - MME
                                                                                                                 Units

                       City of Saratoga Springs v. Purdue
1:19-op-45857-DAP                                                  Saratoga Springs City        New York        6.98%       4.81%         /s/ Shayna E. Sacks
                                Pharma L.P. et al
                       City of Fredericksburg, Virginia v.
1:19-op-45898-DAP                                                   Fredericksburg City          Virginia       5.85%       3.96%           /s/ Kevin Sharp
                            Purdue Pharma, L.P. et al
                      Town of Easton v. Amerisourcebergen
1:19-op-45920-DAP                                                      Easton Town            Massachusetts     5.08%       3.49%         /s/ Peter J. Mougey
                             Drug Corporation et al
                    Village of Wappingers Falls, New York v.
1:19-op-45922-DAP   AmerisourceBergen Drug Corporation et        Wappingers Falls Village       New York        6.60%       5.06%          /s/ Mark A. Tate
                                      al
                        Village of Millerton, NY et al v.
1:19-op-45998-DAP    AmerisourceBergen Drug Corporation et           Millerton Village          New York        6.60%       5.06%          /s/ Mark A. Tate
                                       al
                       The Town of Wappingers Falls, New
1:19-op-46091-DAP       York v. AmerisourceBergen Drug               Wappinger Town             New York        6.60%       5.06%          /s/ Mark A. Tate
                                Corporation et al
                     City of Buffalo v. Purdue Pharma L.P. et
1:19-op-46104-DAP                                                      Buffalo City             New York        7.81%       7.39%         /s/ Shayna E. Sacks
                                         al
                     Carroll County v. Teva Pharmaceuticals
1:19-op-46137-DAP                                                     Carroll County          New Hampshire     25.43%      22.46%      /s/ Robert J. Bonsignore
                                  USA, Inc. et al
                      City of Amsterdam v. Purdue Pharma
1:19-op-46162-DAP                                                    Amsterdam City             New York        8.95%       6.19%         /s/ Shayna E. Sacks
                                     L.P. et al
                     City of Poughkeepsie v. Purdue Pharma
1:19-op-46163-DAP                                                    Poughkeepsie city          New York        6.60%       5.06%         /s/ Shayna E. Sacks
                                     L.P. et al
                        Howard County, Maryland v. Teva
1:19-op-46169-DAP                                                     Howard County             Maryland        13.32%      11.05%          /s/ John Raggio
                         Pharmaceuticals USA, Inc., et al
                            City of Calais, Maine v.
1:20-op-45051-DAP    AmerisourceBergen Drug Corporation et              Calais City               Maine         4.43%       7.52%         /s/ Shayna E. Sacks
                                       al
                     Adams County v. Purdue Pharma L.P. et
1:20-op-45140-DAP                                                     Adams County             Pennsylvania     5.12%       3.81%        /s/ Joseph J. Cappelli
                                       al
1:20-op-45153-DAP     Cayuga Nation v. Cephalon, Inc. et al           Cayuga Nation             New York        6.71%       6.18%       /s/ Timothy Q. Purdon

                     Mohegan Tribe of Indians of Connecticut    Mohegan Tribe of Indians of
1:20-op-45164-DAP                                                                              Connecticut      6.18%       4.54%         /s/ T. Roe Frazer II
                       v. Endo Health Solutions Inc. et al            Connecticut

                        Wampanoag Tribe of Gay Head
                                                           Wampanoag Tribe of Gay Head
1:20-op-45170-DAP    (Aquinnah) v. McKesson Corporation et                                    Massachusetts     5.55%       4.28%         /s/ T. Roe Frazer II
                                                                  (Aquinnah)
                                      al
                     City of Fairfax, VA v. Mallinckrodt PLC
1:20-op-45177-DAP                                                      Fairfax City              Virginia       6.59%       11.28%          /s/ Kevin Sharp
                                        et al
                      Stafford County, VA v. Mallinckrodt
1:20-op-45178-DAP                                                    Stafford County             Virginia       11.41%      10.20%          /s/ Kevin Sharp
                                      PLC et al
                           Frederick County, Virginia v.
1:20-op-45233-DAP                                                    Frederick County            Virginia       10.96%      6.91%           /s/ Kevin Sharp
                              Mallinckrodt PLC et al
                          Town of Poughkeepsie v. Teva
1:20-op-45260-DAP                                                   Poughkeepsie Town           New York        6.60%       5.06%         /s/ Shayna E. Sacks
                         Pharmaceuticals USA, Inc. et. al.
                     City of Leesburg, Alabama et al v. Teva
1:20-op-45261-DAP                                                    Jacksonville City          Alabama         8.96%       12.13%      /s/ Annesley H. DeGaris
                          Pharmaceuticals USA, Inc. et al
                     Board of Education of Thornton
                                                            Baltimore City Board of School
1:20-op-45281-DAP Township High Schools, District 205 et al                                     Maryland        10.09%      8.59%           /s/ Cyrus Mehri
                                                                   Commissioners
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al     Bangor School Department          Maine         24.25%      20.52%          /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al Cape Elizabeth School District        Maine         22.47%      17.91%          /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al           Maine RSU 13                Maine         14.44%      6.99%           /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al           Maine RSU 26                Maine         24.25%      20.52%          /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al           Maine RSU 34                Maine         24.25%      20.52%          /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al




                                                                                                                                        Page 5 of 6
       Case: 1:17-md-02804-DAP Doc #: 5556-1 Filed: 07/30/24 7 of 7. PageID #: 640912
                             Amending Plaintiffs Seeking Leave to Add the Ahold Delhaize Defendants


                                                                                                         Market
                                                                                                       Share 2006-   Market
  Case Number                    Case Caption                          Plaintiff             State       2019 -    Share 2006-       Signed by
                                                                                                        Doseage    2019 - MME
                                                                                                          Units

                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al         Maine RSU 40             Maine       14.44%      6.99%         /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al         Maine RSU 57             Maine       24.21%      21.47%        /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al         Maine RSU 60             Maine       24.21%      21.47%        /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al         Maine RSU 71             Maine       27.75%      21.99%        /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al         Maine SAD 15             Maine       22.47%      17.91%        /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al         Maine SAD 35             Maine       24.21%      21.47%        /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al         Maine SAD 53             Maine       7.05%       6.14%         /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al         Maine SAD 61             Maine       24.21%      21.47%        /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al    Maine SAD28/Five Town         Maine       14.44%      6.99%         /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al     Portland School District     Maine       22.47%      17.91%        /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
1:20-op-45281-DAP Township High Schools, District 205 et al Scarborough School Department    Maine       22.47%      17.91%        /s/ Cyrus Mehri
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
                                                                South Portland School
1:20-op-45281-DAP Township High Schools, District 205 et al                                  Maine       22.47%      17.91%        /s/ Cyrus Mehri
                                                                     Department
                          v. Cephalon, Inc. et al
                     Board of Education of Thornton
                                                              St. George Municipal School
1:20-op-45281-DAP Township High Schools, District 205 et al                                  Maine       14.44%      6.99%         /s/ Cyrus Mehri
                                                                        District
                          v. Cephalon, Inc. et al
                         City of Piedmont, Alabama v.
1:21-op-45049-DAP    AmerisourceBergen Drug Corporation et          Piedmont City           Alabama      8.96%       12.13%        /s/ Brad Ponder
                                      al
                       County Board of Arlington County,
1:21-op-45078-DAP                                                  Arlington County         Virginia     10.59%      7.49%         /s/ Kevin Sharp
                       Virginia v. Mallinckrodt PLC, et al




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